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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                       Protective Order
                                                                               24 Cr. 556 (DEH)
                 v.

 Eric Adams,

                            Defendant.



         Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby

finds and orders as follows:

                                            Categories

         1. Disclosure Material. The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information (“ESI”), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, and the Government’s general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as “Disclosure Material.” The Government’s Disclosure Material may include

material that (i) affects the privacy and confidentiality of individuals and entities; (ii) would

impede, if prematurely disclosed, the Government’s ongoing investigation of uncharged

individuals; (iii) would risk prejudicial pretrial publicity if publicly disseminated; (iv) may be

produced with more limited redactions than would otherwise be necessary; and (v) that is not

authorized to be disclosed to the public or disclosed beyond that which is necessary for the defense

of this criminal case.

         2. Sealed Material. Certain of the Government’s Disclosure Material, referred to herein

as “Sealed Material,” contains information that (i) affects the privacy and confidentiality of third



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parties; (ii) identifies, or could lead to the identification of, witnesses who may be subject to

harassment, intimidation or obstruction, absent the protective considerations set forth herein; (iii)

could jeopardize the ongoing criminal investigations; or (iv) otherwise implicates the privacy of

other individuals and/or non-public federal, state, or local governmental matters. Disclosure

Material that includes a Bates label or otherwise is identified on the document or any

accompanying discovery index or other written communication by the Government as “Sealed

Material” shall be deemed “Sealed Material.”

         3. Attorney’s Possession Only (“APO”) Material. Certain materials in this case raise a

particular risk of affecting the privacy of witnesses or the confidentiality of ongoing investigations.

Disclosure Material produced by the Government to the defendant or his counsel that is either (1)

designated in whole or in part as “Attorney’s Possession Only” by the Government in emails or

communications to defense counsel, or (2) that includes a Bates or other label stating “Attorney’s

Possession Only” or “APO” shall be deemed “APO Material.” Any material designated as APO

Material shall also be deemed Sealed Material.

         4. Attorney’s Eyes Only (“AEO”) Material. Certain materials in this case raise a more

significant risk of affecting the privacy or safety of witnesses or the confidentiality of ongoing

investigations. Disclosure Material produced by the Government to the defendant or his counsel

that is either (1) designated in whole or in part as “Attorney’s Eyes Only” by the Government in

emails or communications to defense counsel, or (2) that includes a Bates or other label stating

“Attorney’s Eyes Only” or “AEO” shall be deemed “AEO Material.” Any material designated as

AEO Material shall also be deemed Sealed Material.




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         NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

                                    Disclosure and Treatment

         5. Disclosure Material shall not be disclosed by the defendant or defense counsel,

including any successor counsel (“the defense”) other than as set forth herein, and shall be used

by the defense solely for purposes of defending this action. The defense shall not post any

Disclosure Material on any Internet site or network site, including any social media site such as

Facebook or Twitter, to which persons other than the parties hereto have access, and shall not

disclose any Disclosure Material to the media. Nothing in this Order limits the defense’s use of

ESI obtained from the defendant’s own devices or accounts or documents produced by the

defendant to the Government in his individual capacity. However, any such use must comply with

applicable federal and local criminal rules.

         6. Sealed Material pertinent to any motion before the Court should initially be filed under

seal, absent consent of the Government or Order of the Court, and may be disclosed by defense

counsel to:

                a. The defendant;

                b. Personnel for whose conduct defense counsel is responsible, i.e., personnel

employed by or retained by counsel, as needed for purposes of defending this action; and

                c. Prospective witnesses for purposes of defending this action.

         7. APO Material received by defense counsel shall be maintained in a safe and secure

manner by defense counsel and any personnel for whose conduct defense counsel is responsible;

shall not be possessed by the defendant, except in the presence of the defendant’s counsel and any

personnel for whose conduct defense counsel is responsible; and shall not be disclosed in any form




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by the defendant, his counsel, or any personnel for whose conduct defense counsel is responsible

except as set forth herein.

         8. AEO Material received by defense counsel shall be maintained on an attorney’s eyes

only basis, and the defense shall not share any AEO Material or the content of the AEO Material

with any other persons, including the defendant, except for any personnel for whose conduct

defense counsel is responsible.

                                         Other Provisions

         9. This Order does not prevent the disclosure of any Disclosure Material in any hearing

or trial held in this action, or to any judge or magistrate judge, for purposes of this action. All

filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1 and the above

provisions.

         10. The Government’s designation of material will be controlling absent contrary order of

the Court. The parties shall meet and confer regarding any dispute over such designations, after

which the defense may seek de-designation by the Court. The Government may authorize, in

writing, disclosure of Disclosure Material beyond that otherwise permitted by this Order without

further Order of this Court.

         11. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed Disclosure Material. All such persons shall

be subject to the terms of this Order. Defense counsel shall maintain a record of what information

has been disclosed to which such persons.

         12. Except for Disclosure Material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all Disclosure Material,

including any ESI, within 30 days of the expiration of the period for direct appeal from any verdict




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in the above-captioned case; the period of direct appeal from any order dismissing any of the

charges in the above-captioned case; and the granting of any motion made on behalf of the

Government dismissing any charges in the above-captioned case, whichever date is later, subject

to defense counsel’s obligation to retain client files under the Rules of Professional Conduct. If

Disclosure Material is provided to any personnel for whose conduct defense counsel is responsible

or prospective witnesses, defense counsel shall make reasonable efforts to seek the return or

destruction of such materials.




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                                    Retention of Jurisdiction

         13. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.

AGREED AND CONSENTED TO:

    DAMIAN WILLIAMS
    United States Attorney


by: ____/s/______________________                       Date: ____9/30/24____________
    Celia V. Cohen
    Andrew Rohrbach
    Hagan Scotten
    Derek Wikstrom
    Assistant United States Attorneys


    ___________________________                         Date: ___10/01/2024________
    Avi Perry
    Alex Spiro
    William A. Burck
    John F. Bash
    Counsel for Eric Adams




SO ORDERED:

Dated: New York, New York
       October __, 2024

                                                        _________________________________
                                                        THE HONORABLE DALE E. HO
                                                        UNITED STATES DISTRICT JUDGE




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